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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION


 JEFFREY LANE HERRING, JR.      *
                                *                      CIVIL ACTION NO. 1:19-CV-
                    PLAINTIFF,  *                      00941–LG-RHW
                                *
 VERSUS                         *
                                *
 BP EXPLORATION & PRODUCTION    *                      JUDGE GUIROLA, JR.
 INC. and BP AMERICA PRODUCTION *
 COMPANY,                       *                      MAGISTRATE
                                *                      JUDGE WALKER
                    DEFENDANTS. *
                                *
 Related to: 12-968 BELO        *
              in MDL No. 2179   *

                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Come now, Plaintiff Jeffrey Lane Herring, Jr. “Plaintiff” herein, and Defendants BP

Exploration & Production Inc. and BP America Production Company, in the above entitled

lawsuit, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), agree that all claims of

Plaintiff in this action against Defendants BP Exploration & Production Inc. and BP America

Production Company are dismissed with prejudice, with each party to bear its own costs.


 Date: February 28, 2020

                                                Respectfully submitted,



                                                /s/ Shantrell Nicks
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on February 28, 2020, the above and foregoing pleading was

electronically filed with the Clerk of Court of the United States District Court for the Southern

District of Mississippi by using the CM/ECF System. Notice of this filing will be sent to all

counsel of record registered to receive electronic service by operation of the court’s electronic

filing system.

                                                      /s/ Shantrell Nicks
                                                      Shantrell Nicks




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